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NICHOLAS STROZZA, ASSISTANT U.S. TRUSTEE
State Bar #CA 117234

WILLIAM B. COSSITT, #3484

Office of the United States Trustee

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Telephone: (775) 784-5335

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Attorneys for United States Trustee

Tracy Hope Davis
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
In re: ) Case no: BK-N-14-50331-btb
) Chapter: 11
AT EMERALD, LLC )
) NOTICE OF ENTRY OF ORDER
)
)
Debtor )

 

PLEASE TAKE NOTICE THAT an Order Converting Case to Chapter 7, was entered by
the above-entitled Court on August 29, 2014, a copy of which is attached hereto. 7
DATED this 3rd day of September, 2014.
Respectfully submitted,

Nicholas Strozza

State Bar # CA 117234
William B. Cossitt

State Bar #3484

300 Booth Street, #3009
Reno NV 89509

(775) 784-5335

/s/ WILLIAM B. COSSITT
Attorneys for United States Trustee
Tracy Hope Davis

 

 
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Honorable Bruce T. Beesley
United States Bankruptcy Judge

 

 

Entered on Docket
August 29, 2014

 

 

 

NICHOLAS STROZZA, ASSISTANT U.S. TRUSTEE
State Bar #CA 117234

WILLIAM B. COSSITT, #3484

Office of the United States trustee

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Attorneys for United States Trustee
Tracy Hope Davis

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

Case no: BK-N-14-50331-BTB
Chapter 11

In re:

AT EMERALD, LLC,
ORDER CONVERTING CASE TO
CHAPTER 7

Hearing Date: August 22, 2014
Hearing Time: 2:00 p.m.

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Debtor.

 

John Beach, Trustee of the Beach Living Trust dated January 22, 1999 (herein “Beach
Trust”) moved on proper notice for an order appointing a trustee, (“Motion” Docket #164') and
the Motion came on for hearing at the above stated date and time after time was shortened by thig
Court’s Order of August 14, 2014, Docket #166. Anthony Thomas and Wendi Thomas appeared

on their own behalf in opposition to the Motion. Docket #’s 179 and 180. Timothy A. Lukas,

 

2 Docket numbers refer to the jointly administered docket BK-N-14-50333-btb.

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Esq., appeared on behalf of the Beach Trust. William B. Cossitt, Esq. appeared for the US
Trustee, and orally moved for conversion of the case to chapter 7 instead of appointment of a
chapter 11 trustee.

The Court having read the pleadings, listened to testimony and the arguments of the
parties, having reviewed its previous notes and findings from previous hearings and having put
its findings of fact and conclusions of law on the record in open court, including the
incorporation of earlier findings and conclusions from earlier hearings, pursuant to Federal Rule
of Civil Procedure 52 made applicable by Federal Rule of Bankruptcy Procedure 7052, and good
cause appearing;

IT IS HEREBY ORDERED that this case is CONVERTED TO CHAPTER 7.

Respectfully submitted,

Nicholas Strozza

State Bar # CA 117234
William B. Cossitt

State Bar #3484

300 Booth Street, #3009
Reno NV 89509

(775) 784-5335

/s/ WILLIAM B. COSSITT

 

Attorneys for United States Trustee
Tracy Hope Davis

APPROVED this 25th day of August, 2014.

/s/ Timothy A. Lukas

 

Timothy A. Lukas, Esq., Attorney for Beach Trust

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CERTIFICATE OF SERVICE
In accordance with LR 9021(c), counsel submitting this document certifies as follows:
____ The court has waived the requirement set forth in LR 9021(b)(1).
___No party appeared at the hearing or filed an obj ection to the motion.

__X_ Ihave delivered a copy of this proposed order to all counsel who appeared at the
hearing, and any unrepresented parties who appeared at the bearing, and each has approved or
disapproved the order, or failed to respond, as indicated below [list each party and whether the
party has approved, disapproved, or failed to respond to the document]:

Timothy A. Lukas, Esq., VIA E-MAIL 08/22/14 APPROVED 8/25/14

Anthony Thomas and Wendi Thomas, VIA US MAIL 08/22/14 NO RESPONSE
VIA E-MAIL 08/25/14 NO RESPONSE

I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
order with the motion pursuant to LR 9014(g), and that no party has objected to the form or
content of the order.

DATED this 27th day of August, 2014.
WILLIAM B. COSSITT

/S/ WILLIAM B. COSSITT
TRIAL ATTORNEY for the
United States Trustee
TRACY HOPE DAVIS

 
